Case 1:17-cv-00364-LMB-JFA Document 150 Filed 12/19/17 Page 1 of 2 PageID# 1572
  


                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division


 SHARYL THOMPSON ATTKISSON,
 et al.,

        Plaintiffs,

 v.                                                   Civil Action No. 1:17-cv-364 (LMB/JFA)

 ERIC HOLDER, et al.,

        Defendants.


                 PLAINTIFFS’ WITHDRAWAL OF NOTICE OF HEARING
                        AND WAIVER OF ORAL ARGUMENT

        PLEASE TAKE NOTICE that undersigned counsel, as attorneys for Plaintiffs in the above-

 styled cause, pursuant to L. Civ.R. 7(E) hereby waive their request for an oral argument on their

 Motion to Amend Scheduling Order and for Status Conference Regarding Discovery (Dkt. No.

 148) and furthermore withdraw their previously-filed notice of hearing which set the above-

 described motion for hearing before the Honorable Leonie M. Brinkema, at Albert V. Bryan U.S.

 Courthouse, 401 Courthouse Square, Alexandria, VA 22314 on December 22, 2017 at 10:00 a.m.

 and request that the Court rule on the matter on the pleadings.

                                                      Respectfully Submitted,

                                                      SHARYL THOMPSON ATTKISSON
                                                      JAMES HOWARD ATTKISSON
                                                      SARAH JUDITH STARR ATTKISSON

                                                      By Counsel

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Case 1:17-cv-00364-LMB-JFA Document 150 Filed 12/19/17 Page 2 of 2 PageID# 1573
  


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                                CERTIFICATE OF SERVICE
         I hereby certify that on the 19th day of December, 2017, I electronically filed the
 foregoing with the Clerk of the Court using the CM/ECF system, which will send notification of
 such filing (NEF) to the following counsel of record:

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